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 1       IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF OKLAHOMA
 2

 3   ISABELA SNEED,     )
             Plaintiff, )
 4                      )
     vs.                )Case No.               22-cv-00031-R
 5                      )
     INDEPENDENT SCHOOL )
 6   DISTRICT NO. 16 OF )
     PAYNE COUNTY,      )
 7           Defendant. )

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11                     DEPOSITION OF
                        SETH CONDLEY
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19   DATE:   MARCH 1, 2023

20   REPORTER:   MARISA SPALDING, CSR, RPR

21

22

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                                                                EXHIBIT
                                                                  3
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 1   A P P E A R A N C E S:

 2

 3          FOR THE PLAINTIFF:

 4              SMOLEN & ROYTMAN, P.L.L.C.
                701 South Cincinnati Avenue
 5              Tulsa, Oklahoma 74119
                    BY:  MR. DANIEL E. SMOLEN
 6

 7              MOORE-SHRIER LAW FIRM
                624 South Boston Avenue,
 8              Suite 1070
                Tulsa, Oklahoma 74119
 9                  BY:  MR. DREW MATHEWS

10

11          FOR THE DEFENDANT:

12              ROSENSTEIN, FIST & RINGOLD
                525 South Main Street, Suite 700
13              Tulsa, Oklahoma 74103
                     BY:  MS. SAMANTHIA MARSHALL
14
     ALSO PRESENT:   Jeremiah Gregory
15

16      DEPOSITION OF SETH CONDLEY, produced as

17   a witness duly sworn by me, taken in the

18   above-styled and numbered cause on the 1st

19   day of March, 2023, at 9:36 a.m., before

20   MARISA SPALDING, Certified Shorthand

21   Reporter No. 01750 in and for the State of

22   Oklahoma, at the offices of Smolen &

23   Roytman, 701 South Cincinnati Avenue,

24   Tulsa, Oklahoma, in accordance with the

25   agreement hereinafter set forth.
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 1               A G R E E M E N T S

 2      It is hereby agreed by and between the

 3   parties hereto, through their respective

 4   attorneys appearing herein, that the

 5   Plaintiff may take the deposition of SETH

 6   CONDLEY at this time, that said deposition

 7   is being taken by Subpoena and said

 8   deposition is being taken with the same

 9   force and effect as though all the

10   requirements of the Rules and Statutes had

11   been fully complied with.

12      It is further agreed by and between the

13   parties hereto, through their attorneys

14   appearing herein, that any and all

15   objections to any question, except as to

16   form contained herein, may be made upon the

17   offering of this deposition in evidence

18   upon the trial of this cause with the same

19   force and effect as though the witness were

20   present in person and testifying from the

21   witness stand.

22      It is further agreed by and between the

23   parties hereto, through their attorneys

24   appearing herein, that this deposition may

25   be signed before any Notary Public and
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 1   thereafter returned into Court and used

 2   upon the trial of this cause with the same

 3   force and effect as though all requirements

 4   of the Rules and Statutes with reference to

 5   signature and return had been fully

 6   complied with.

 7      It is further agreed by and between the

 8   parties hereto, through their attorneys

 9   appearing herein, that if the original of

10   this deposition has not been properly

11   signed before any officer authorized to

12   administer oaths within (30) days after its

13   submission to said witness and thereafter

14   returned to the attorney who asked the

15   first question appearing in the transcript

16   prior to any contested hearing in this

17   cause, that an unsigned, certified copy may

18   be substituted and used for all purposes,

19   the same as though the original had been

20   signed by said witness and properly

21   returned.

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                                             5




 1                       INDEX

 2                                    PAGE

 3   Appearances                         2

 4   Agreements                          3

 5   SETH CONDLEY

 6        Examination by Mr. Smolen      6

 7   Jurat                              91

 8   Correction Sheet                   92

 9   Reporter's Certificate             93

10

11

12                   EXHIBIT INDEX

13   NUMBER         DESCRIPTION       PAGE

14   PX   1         Complaint           22

15   PX   4         Police Report       32

16   PX   5         Police Report       33

17   PX 15          Emails              38

18   PX 14          Evaluation          81

19

20

21

22

23

24

25
                                                     40




 1      A    Yeah.

 2      Q    And so in this email, it starts off

 3   with Mr. Morejon stating -- I'm on the last

 4   page here.      It looks like it starts off

 5   with him saying:      During FTC, whenever I

 6   was being a dedicated baseball coach and

 7   working for $2 an hour, someone came into

 8   my room and took slash stole my Hawaiian

 9   license plate.

10      I honestly forgot about this, but the

11   kids have put me in depression today and I

12   randomly remembered the one thing that

13   makes me smile during the day, the rainbow

14   on the license plate.      If anyone has seen

15   this license plate, please return it.         I'm

16   really missing it.

17      And then I see a response from Trevor

18   Fieldson that goes to Mr. Morejon, and it

19   goes to the JH staff, and he responds and

20   he says:     Maybe one of your 9th grade

21   female entourage took it for a souvenir

22   what looks like to be kind of a smiley

23   face.   Did you ever see Mr. Morejon with a

24   female entourage?

25      A    I never saw females.     There were
                                                       41




 1   students.     It was -- it wasn't just

 2   females.

 3      Q   Okay.     But he's pretty clear in the

 4   -- in the email --

 5      A   Uh-huh.

 6      Q   -- right, that maybe one of your 9th

 7   grade female entourage took it for a

 8   souvenir.     He was pretty specific about it

 9   being 9th grade, and he was pretty specific

10   about it being female.     Do you remember him

11   having a number of female 9th grade girls

12   that would follow him or hang out with him

13   in Spring of 2019?

14      A   I wouldn't say specific girls.

15   Again, it was -- there were boys.        It was

16   groups, just students that would -- but --

17   but it was during passing period, some come

18   down to the classroom so -- but it was -- I

19   never witnessed just all girls.

20      Q   Okay.     Was it majority females but a

21   few males in there?

22      A   Yes.     If -- if -- does that make --

23      Q   Yeah, I mean, I just want to know

24   what you saw.

25      A   Yes.
                                                      42




 1        Q   Because obviously Mr. Fieldson saw

 2   something, right --

 3        A   Uh-huh.

 4        Q   -- that made him respond to the

 5   entire JH staff.

 6        A   Uh-huh.

 7        Q   Maybe one of your 9th grade female

 8   entourage --

 9        A   Yeah.

10        Q   -- has it?

11        A   Uh-huh.

12        Q   Do you have -- let me ask you this.

13   Do you have any issues with Mr. Fieldson?

14        A   No, sir.

15        Q   Okay.     You don't consider him to be

16   a dishonest person or anything, do you?

17        A   No, sir.

18        Q   I've never met the man.      I think I'm

19   going to take his deposition today, but

20   nothing that stands out in your mind that

21   --

22        A   He is Brit so don't hold that

23   against him.

24        Q   Okay.     I won't.   I'll try not to.    I

25   know a couple of those.       I was with one
                                                    43




 1   last night having dinner, actually.     What

 2   -- when you say that this group of students

 3   would be with Mr. Morejon in between

 4   breaks, when would that be?     What did the

 5   breaks look like?

 6      A   Just passing period.

 7      Q   And what is that when you say

 8   passing period?

 9      A   Between classes.

10      Q   And would they be in his classroom

11   with him?

12      A   Yeah, yeah, there would be, yes,

13   multiple students, yes, in between --

14   between passing -- between when the bell

15   rings for tardies.

16      Q   And was that a common practice for

17   other faculty?

18      A   Yes.

19      Q   Okay.     Had you ever talked to Mr. --

20   or did you ever just talk to Mr. Fieldson

21   after he sent this?

22      A   No, I don't even remember this.

23      Q   Okay.

24      A   This email chain, sorry.

25      Q   Right.     And I'm assuming you guys
